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 4

 5 Attorney for:
   MARIO LOPEZ-AYALA
 6
                                 IN THE UNITED STATES DISTRICT COURT
 7
                                    EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                          CASE NO. 2:13-CR-0412 TLN
10
                                   Plaintiff,           STIPULATION TO CONTINUE JUDGMENT AND
11                                                      SENTENCING TO FEBRUARY 23, 2017 AT 9:30
                            v.                          A.M.
12
     MARIO LOPEZ-AYALA,
13                                 Defendant.

14
                                                STIPULATION
15
            Plaintiff United States of America, by and through its counsel of record, Todd Pickles, and
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     Defendants Mario Lopez-Ayala, represented by Attorney Dina Santos, hereby stipulate to continue the
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     date of Judgement and Sentencing to February 23, 2017, at 9:30 a.m. Counsel for Mr. Lopez-Ayala is
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     new to the case and requires time to prepare for sentencing. Probation will be advised of the new date.
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21
            IT IS SO STIPULATED.
22

23

24
     Dated: December 5, 2016                                PHILLIP A. TALBERT
25                                                          United States Attorney

26
                                                            /s/ Todd Pickles
27                                                          TODD PICKLES
                                                            Assistant United States Attorney
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            Case 2:13-cr-00412-TLN Document 87 Filed 12/06/16 Page 2 of 2


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 2 Dated: December 5, 2016                     /s/ Dina L. Santos
                                               DINA L. SANTOS, ESQ.
 3
                                               Attorney for MARIO LOPEZ-AYALA
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 6                                          ORDER
 7        IT IS SO FOUND AND ORDERED this 5th day of December, 2016.
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11                                                 Troy L. Nunley
                                                   United States District Judge
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